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                             United States District Court
                              Middle District of Florida
                                  Orlando Division

  Matthew Larosiere,
  ​         Plaintiff,

  v.​   ​    ​     ​     ​        ​     ​

  Cody Rutledge Wilson, DEFCAD, Inc.,
  Defense Distributed, and Dioskouroi
  LLC,
  ​    ​    Defendants.

  __________________________ ​ ​              ​        No. 6:24-cv-1629


  Defense Distributed,
  ​    ​    Counterplaintiffs

  v.​   ​    ​     ​     ​        ​

  The Gatalog, Matthew Larosiere,
  John Elik, Alexander Holladay, Peter
  Celentano, Josh Kiel Stroke, John
  Lettman, The Gatalog Foundation, and
  MAF Corp,
  ​    ​      Counterdefendants.




        RETURN OF SERVICE FOR DEFENDANT PETER CELENTANO
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